                        Case 1:22-mj-00011-GMH Document 1 Filed 01/13/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                         UNITED STATES DISTRICT COURT
                                                                               for the
                                                                     District of &ROXPELD

                   United States of America                                       )
                              v.                                                  )
                                                                                  )        Case No.
        Markus Maly (AKA: aka Marcus Maly)
                                                                                  )
                 DOB: XXXXXX                                                      )
                                                                                  )
                                                                                  )
                             Defendant(s)


                                                         CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                           January 6, 2021                       in the county of                                         in the
                            LQWKH'LVWULFWRI           &ROXPELD , the defendant(s) violated:

              Code Section                                                                     Offense Description
        18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting Bodily Injury;
        18 U.S.C. § 231(a)(3)- Civil Disorder;
        18 U.S.C. § 1512(c)(2)- Obstruction of an Official Proceeding;
        18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds;
        18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
        18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds;
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;
        40 U.S.C. § 5104(e)(2)(E)- Impeding Passage Through the Capitol Grounds or Buildings;
        40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings.


          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u   Continued on the attached sheet.


                                                                                                                    Complainant’s signature

                                                                                                            Shawn Cox, Special Agent
                                                                                                                     Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                                                         G. Michael
Date:              01/13/2022
                                                                                                                                      Harvey
                                                                                                                        Judge’s signature

City and state:                          :DVKLQJWRQ'&                                        G. Michael Harvey, U.S. Magistrate Judge
                                                                                                                     Printed name and title
